      Case 7:16-cv-00608 Document 40 Filed in TXSD on 06/05/18 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

CAMELIA CHAPA, on behalf of herself               §
and others similarly situated,                    §
                                                  §
       Plaintiffs,                                §
                                                  §
v.                                                §           Case No. 7:16-cv-00608
                                                  §
CENTENE COMPANY OF TEXAS, L.P.                    §
d/b/a CENTENE – SUPERIOR HEALTH,                  §
                                                  §
       Defendant.                                 §

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       NOW COME Plaintiffs Camelia Chapa, Raquel Martinez Beltran, Veronica Trevino,

Neri Rodriguez, and Leticia Meza (collectively “Plaintiffs”) and Defendant Centene Company of

Texas, L.P. (“Defendant”) by and through counsel and pursuant to Federal Rule of Civil

Procedure 41(A) and hereby stipulate to the dismissal of this case in its entirety and with

prejudice. Plaintiffs and Defendant further stipulate that all claims asserted in this case against

the Defendant are dismissed in their entirety and with prejudice. Plaintiffs and Defendant further

stipulate that they shall bear their own costs, expenses and fees including, but not limited to,

attorneys’ fees. Therefore, the case should be dismissed with prejudice, with each party bearing

its own costs, expenses and fees, including, but not limited to, attorneys’ fees.




                                                  1
     Case 7:16-cv-00608 Document 40 Filed in TXSD on 06/05/18 Page 2 of 3



Dated: June 5, 2018


Respectfully Submitted,                   Respectfully Submitted,

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                                      2
     Case 7:16-cv-00608 Document 40 Filed in TXSD on 06/05/18 Page 3 of 3



                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 5, 2018, I electronically filed this document with the clerk of

court for the U.S. District Court, Southern District of Texas, using the Electronic Case Filing

System of the Court. The Electronic Case Filing System sent a “Notice of Electronic Filing” to

all counsel of record, consenting in writing to accept service of this document by electronic

means.

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